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                                                                                               FILED
                                                                                    John E. Triplett, Acting Clerk
                                                                                     United States District Court


                      IN THE UNITED STATES DISTRICT COURT                       By MGarcia at 3:21 pm, Aug 07, 2020


                         SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION

UNITED STATES OF AMERICA,      )
                               )
     Plaintiff,                )              CIVIL ACTION NO. 2:20cv81
                               )
v.                             )
                               )
HELLER FAMILY MEDICINE LLC, )
and DR. JENNIFER HELLER, D.C., )
                               )
                               )
     Defendants.               )


                    UNITED STATES OF AMERICA’S COMPLAINT

          The United States of America brings this action to recover losses from false claims

submitted to the Medicare Program by Defendants Heller Family Medicine, LLC and

Jennifer Heller, D.C. (“Dr. Heller”) (collectively “Defendants”) for “procedures”

performed with an acupuncture device and fraudulently billed under Healthcare

Common Procedure Coding System L8679 (Implantable neurostimulator, pulse

generator, any type). Over a two-year period, Medicare paid Defendants $1,434,798.45

for these fraudulent claims.

I.        THE PARTIES

     1.         Plaintiff, the United States of America, brings this action on behalf of the

Department of Health and Human Services (HHS) and the Centers for Medicare &

Medicaid Services (CMS), on behalf of the Medicare Program.

     2.         Defendant Heller Family Medicine, is a Georgia Limited Liability

Company with a principal place of business at 208 Scranton Connector, Suite 120,

Brunswick, GA, 31525.
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      3.         Defendant Jennifer Heller, D.C., is a licensed chiropractor and the owner

of Heller Family Medicine, LLC. Dr. Heller is a Georgia resident and resides in the

Brunswick Division of the Southern District of Georgia.

III.             JURISDICTION AND VENUE

      4.         This Court has jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. §§ 1331 and 1345. This civil action arises under the laws of the United

States, and this civil action is brought by the United States as a plaintiff pursuant to

the FCA.

      5.         The Court may exercise personal jurisdiction over Defendants pursuant to

31 U.S.C. § 3732(a) because that section authorizes nationwide service of process and

because Defendants can be found in and/or have transacted business within the

Southern District of Georgia.

      6.         Venue is proper in the Southern District of Georgia under 31 U.S.C. §

3732(a) and 28 U.S.C. §§ 1391(b) and 1395(a) because Defendants can be found in and/or

have transacted business in the district. Defendants regularly conducted substantial

business within the district, maintained employees and offices within the district,

and/or generated significant revenue from work performed within the district.

IV.              THE LAW.

                                          THE FCA

      7.         The FCA provides, in pertinent part, that any person who:

                  “(A) knowingly presents, or causes to be presented, a false or fraudulent
           claim for payment or approval;

                 (B) knowingly makes, uses, or causes to be made or used, a false record or
           statement material to a false or fraudulent; [or]

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               (C) conspires to commit a violation of subparagraph (A) [or] (B . . .

is liable to the United States Government [for statutory damages and such penalties as

are allowed by law].” 31 U.S.C. §§ 3729(a)(1)-(3) (2006), as amended by 31 U.S.C. §

3729(a)(1)(A)-(C) (2010).

   8.          The FCA further provides that “knowing” and “knowingly”

               “(A) means that a person, with respect to information—

                     i.     has actual knowledge of the information;
                     ii.    acts in deliberate ignorance of the truth or falsity of the
                            information; or
                     iii.   acts in reckless disregard of the truth or falsity of the
                            information; and

               (B) requires no specific intent to defraud.”

31 U.S.C. § 3729(b) (2006), as amended by 31 U.S.C. § 3729(b)(1) (2010).

   9.          The FCA, 31 U.S.C. § 3729(a)(1), provides that any person who violates the

Act is liable to the United States Government for three times the amount of damages

which the Government sustains because of the act of that person, plus a civil penalty of

not less than $5,000 and not more than $10,000, as adjusted by the Federal Civil

Penalties Inflation Adjustment Act of 1990. See 28 C.F.R. § 85.5 (setting forth the

current penalties level of not less than $11,665 and not more than $23,331 for violations

of the FCA).

   10.         In 1965, Congress enacted Title XVIII of the Social Security Act (the “Act”),

42 U.S.C. § 1395 et seq., to provide health insurance coverage for people 65 or older and

for people with certain disabilities or afflictions. See 42 U.S.C. §§ 426, 426a.

   11.         Medicare is administrated by CMS, which is part of HHS. At all times


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relevant to this complaint, CMS contracted with private contractors referred to as “fiscal

intermediaries,” “carriers,” and Medicare Administrative Contractors (“MACs”), to act

as agents in reviewing and paying claims submitted by health care providers. 42 U.S.C.

§ 1395h; 42 C.F.R. §§ 421.3, 421.100.

   12.        Medicare provides coverage for items and services that are reasonable and

necessary to diagnose or treat an illness or injury or to improve a malformed body

member. Payment will be provided if medical necessity can be substantiated. Section

1862(a)(1) of the Social Security Act. CMS Manual System, Pub. 100-02, Medicare

Benefit Policy Manual, Ch. 16, sec. 20.

   13.        The Medicare Program consists of four parts: A, B, C, and D. As alleged

herein, Defendants submitted, or caused to be submitted, false claims under Medicare

Part B.

   14.        Medicare Part B covers medically necessary services, including provider

visits, diagnostic tools that meet accepted standards for medical practice, procedures,

medical supplies and DME.

   15.        For a health care provider to seek reimbursement from the Medicare

Program, the provider must obtain a National Provider Identifier (“NPI”) from CMS.

The provider also must submit an enrollment application.

   16.        Once the provider is enrolled, the provider may submit bills to the

Medicare Program for services rendered to the patients. A participating provider must

properly document in the patient’s medical record the service or procedure performed.

42 C.F.R. § 431.107(b)(1).

   17.        Medicare only pays for Part B services that are actually rendered and are

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reasonable and medically necessary. 42 U.S.C. § 1395y(a). Part B providers must certify

that services are medically necessary. 42 C.F.R. § 424.24(g)(1).

   18.           To obtain reimbursement from the Medicare Program, providers submit a

claim form, which is typically done electronically. In particular, providers submit CMS

Form 1500 and/or its equivalent, known as the 837P form, which contains the following

certifications:

   “In submitting this claim for payment from federal funds, I certify that: 1) the
   information on this form is true, accurate, and complete; 2) I have familiarized
   myself with all applicable laws, regulations and program instructions, which are
   available from the Medicare contractor; 3) I have provided or will provide
   sufficient information required to allow the government to make an informed
   eligibility and payment decision; 4) this claim, whether submitted by me or on my
   behalf by my designated billing company, complies with all applicable Medicare
   and/or Medicaid laws, regulations, and program instructions for payment
   including but not limited to the Federal anti-kickback statute and Physician Self-
   Referral law (commonly known as Stark law); 5) the services on this form were
   medically necessary and personally furnished by me or were incident to my
   professional service by my employee under my direct supervisor, except as
   otherwise permitted by Medicare or TRICARE . . . .

   NOTICE: Any one who misrepresents or falsifies essential information to receive
   payment from Federal funds requested by the form may upon conviction be
   subject to fine and imprisonment under applicable Federal laws.

   19.           Among the information the provider includes on a CMS 1500 or 837P form

are certain five-digit codes, including Current Procedural Terminology (“CPT”) and

Healthcare Common Procedure Coding System (“HCPCS”) codes, that identify the

diagnosis, services rendered and for which reimbursement is sought, and the unique

billing identification number of the “rendering provider” and the “referring provider or

other source.” 45 C.F.R. § 162.1002(a)-(b); Medicare Claims Processing Manual, Ch. 23,

§ 20.7 et seq.

   20.           Providing accurate CPT and HCPCS codes on claims submission forms is

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material to and a condition of payment for the Medicare Program. See, e.g., Medicare

Learning Network Fact Sheet, Medicare Billing: 837P and Form CMS-1500.

     21.        The Medicare Program routinely denies payment to providers who bill for

codes when the criteria for those codes is not actually met, including when the services

are not performed or are not medically necessary.

V.              FACTUAL BACKGROUND

     22.        Dr. Heller is a licensed chiropractor.

     23.        In early 2016, Dr. Heller began working with an external consultant,

“Company-1.” Company-1 assists chiropractors developing additional sources of

revenue. The relationship was memorialized between Dr. Heller and Company-1

through an April 18, 2016 Independent Contractor Agreement, which Dr. Heller signed

through another corporate entity.

     24.        On April 25, 2016, Dr. Heller created Heller Family Medicine, LLC.

     25.        Company-1 recommended that Defendants utilize Nurse Practitioners

(NPs) and a Medical Director so that Heller Family Medicine could bill private and

public healthcare providers for services that a chiropractor, alone, could not.

     26.        Defendants agreed to this model and Company-1 hired several NPs and a

Medical Director. While the NPs and Medical Director were “hired” by Company-1 , they

worked in Brunswick for Defendants. The NPs and Medical Director allowed Defendant

Heller Family Medicine to perform and bill for services that Dr. Heller could not directly

perform or bill for as a chiropractor. These NPs and Medical Director’s Medicare

payments were assigned to Heller Family Medicine.

     27.        Defendants paid Company-1 an hourly fee for the NPs and Medical

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Director. Company-1, in turn, kept a percentage of this money and paid the NPs and

Medical Director the remainder. All revenue derived from the NPs and Medical

Director’s medical services—whether from the Medicare Program or private payors—

was paid directly to Heller Family Medicine.

    28.          As a way to earn additional revenue, Company-1 suggested that

Defendants start using a P-Stim 1 acupuncture device and seek reimbursement from

private providers and the Medicare Program for this “service.”

    29.          A P-Stim is an electric acupuncture device that is attached to the ears of

the patient using two small pads. This non-covered acupuncture “service” is provided in

an office setting.

    30.          A National Coverage Determination (“NCD”) for Acupuncture (30.3) states

“acupuncture is not considered reasonable and necessary” within the meaning of Section

of 1862(a)(1) of the Social Security Act (the “Act”). This is a long-standing determination

and was widely known throughout the relevant time period.

    31.          Some, if not all, of the devices Defendants used to perform this acupuncture

service were made by a company called Stivax.

    32.          The Stivax website includes a disclaimer stating “[i]t is our understanding

that Medicare and some commercial insurance companies are not covering electro-

acupuncture or auricular vagus nerve stimulation devices such as Stivax at this time.”

    33.          To circumvent this prohibition against coverage for acupuncture,

Defendants billed Medicare using HCPCS L8679 in connection with the P-Stim



1
 Other brand names for the device include Stivax, NeuroStimulator, ANSiStim, E-Pulse and NSS-2 Bridge. All such
devices are collectively referred to as “P-Stim.”
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“treatment.” While the P-Stim devices typically cost between $300 and $500, Medicare

typically reimburses between $5,000 and $6,500 for HCPCS L8679.

   34.        HCPCS L8679 is an implantable neurostimulator and pulse generator.

This procedure requires the provider perform surgery by making an incision on the

patient’s back and placing the leads (medical wires) that deliver the stimulation into the

epidural space on the spinal cord. Payment for the surgical procedure requires the

service to be performed in a surgery center. When billed in an outpatient center HCPCS

L8679 is non-payable.

   35.        Starting in the fall 2016, Defendants began using the P-Stim acupuncture

device. Defendants’ P-Stim “treatment” was not performed at a surgery center, required

no surgical implantation, and merely placed two wires behind the patient’s ears. The

P-Stim “treatment,” therefore, was clearly not covered by HCPCS L8679. Despite this,

Defendants repeatedly billed the P-Stim “treatment” to the Medicare Program for

HCPCS L8679 by using CMS 1500 Forms containing false information and

certifications.

   36.        Defendants also obtained an NPI for Heller Fancy Medspa, an

unincorporated DBA of Heller Family Medicine and submitted HCPCS L8679 claims

from it.

   37.        Based on Defendants’ false submissions to Medicare for HCPCS L8679 for

the P-Stim treatment, the Medicare Program paid Defendants between $5,800 and

$6,400 for each “treatment.”

   38.        After realizing how lucrative the fraudulent P-Stim payments were, Dr.

Heller emailed her P-Stim salesperson on March 14, 2017 and told him that she planned

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on opening up a medical spa and that she estimated that she would need 20 P-Stim

devices per month. Extrapolating Defendants’ previous Medicare payments for HCPCS

L8679, 20 P-Stim “treatments” per month would result in Medicare payments of

$116,000 to $128,000 per month.

   39.         On March 27, 2017, Defendants, in consultation with Company-1, rolled

out a bonus program to incentivize the improper billing of HCPCS L8679. Under the

bonus program, Defendants paid NP’s, through Company-1, $100 per P-Stim

“treatment.”

   40.         On March 14, 2018, Company-1 sent Dr. Heller a “product line update for

the Neurostimulator.” In this update, Company-1 noted that it “does not have the

necessary documentation, or the information that we feel necessary for us to support

the use of the neurostimulator products as it relates to coding, billing, and compliance.”

The update further recommended that Defendants “review the coding, billing,

compliance and utilization with your compliance officer, attorney, or other professional

that is qualified to give you an opinion as to the appropriate coding, billing, compliance,

and utilization of the product.”

   41.         Dr. Heller signed and returned the March 14, 2018 update. Upon

information and belief, Defendants, however, never sought the advice of a compliance

officer, attorney or other qualified professional to determine whether the P-Stim

acupuncture treatment was properly reimbursable by the Medicare Program through

HCPCS L8679.

   42.         Defendants did, however, take out an advertisement in The Brunswick

News on June 8, 2018 touting the P-Stim “treatment.” In the advertisement, Defendants

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described the procedure as “a small, battery powered electronic device that one wears

on the ear with a cord attached to the shirt collar.” One of Defendants’ NPs is quoted in

the advertisement as saying “[o]ur Medicare patients have really benefited from this.”

Defendants took out an additional, similar advertisement in The Brunswick News on

September 25, 2018.

      43.          On July 16, 2018, Dr. Heller emailed and told Company-1 that a friend of

hers had been audited and that all money was requested back from the “STIVAX

treatment due to invalid coding.”

      44.          Despite the fact that NCD (30.3) states “acupuncture is not considered

reasonable and necessary,” the warning of Medicare non-coverage from the Stivax

website, the clear inapplicability of the surgical code HCPCS L8679 to the P-Stim

“treatment,” a warning from Company-1, and the fact that Dr. Heller knew a friend was

under audit for the “STIVAX treatment,” Defendants continued to improperly bill the

P-Stim acupuncture “treatment” until October 19, 2018.

      45.          In total, Defendants were paid $1,434,798.45 for more than three hundred

fraudulent P-Stim claims 2 that were falsely certified as “medically necessary” and

improperly submitted under HCPCS L8679 through CMS 1500 Forms. See Exhibit A.

Indeed, two beneficiaries received this treatment 15 times in a single year by

Defendants. As a result, Medicare reimbursed Defendants more than $90,000 for each

of these beneficiaries.

      46.           For her part, Dr. Heller made hundreds of thousands of dollars from these

improper payments after paying Company-1 and the NPs.


2
    Defendants submitted 304 total P-Stim claims. See Exhibit A. Some of these claims, however, were denied.
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   47.       The United States would not have paid any portion of the $1,434,798.45 to

the Defendants had it known Defendants were performing an P-Stim acupuncture

“treatment” in an office setting rather than the surgical procedure set forth in HCPCS

L8679.

   48.       CMS demanded that Defendants repay this improperly obtained money.

They did not.

                                   Count I
          (FCA: Presentment of False Claims (31 U.S.C. § 3729(a)(1)(A))

   49.       The United States incorporates by reference Paragraphs 1 through 48

above as if fully set forth in this Paragraph.

   50.       As detailed above, Defendants knowingly presented, or caused to be

presented, materially false and fraudulent claims for payment or approval to the United

States, including claims for reimbursement by the Medicare Program that were false

and fraudulent because they (i) were for services for which the Medicare Program does

not reimburse; and/or (ii) were not medically necessary.

   51.       As detailed above, the Medicare Program would not otherwise have paid

for these false and fraudulent claims.

   52.       Defendants presented or caused to be presented these claims with actual

knowledge of their falsity, or with reckless disregard or deliberate ignorance of whether

or not they were false.

   53.       Defendants are liable to the United States for damages in an amount to be

determined at trial, but not less than $1,434,798.45 in single damages, trebled, as well

as a minimum civil penalty of $11,665 to a maximum penalty of $23,331 for each claim


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submitted to the Medicare Program.

                                 Count II
(FCA: Making or Using False Statements Material to a False Claim (31 U.S.C.
                             § 3729(a)(1)(B))

   54.         The United States incorporates by reference Paragraphs 1 through 48

above as if fully set forth in this Paragraph.

   55.         As detailed above, Defendants knowingly made, used, or caused to be made

or used, false records or statements, which included false certifications and

representations on forms CMS 1500 to obtain approval for and payment by the United

States for false or fraudulent claims as detailed above.

   56.         Defendants’ false certifications and representations were made for the

purpose of ensuring that the Medicare Program paid the false or fraudulent claims,

which was a reasonable and foreseeable consequence of Defendants’ statements and

actions.

   57.         The false certifications and representations made or caused to be made by

Defendants were material to the payment of the false claims by the United States.

   58.         Said false records or statements were made with actual knowledge of their

falsity, or with reckless disregard or deliberate ignorance of whether or not they were

false.

   59.         Defendants are liable to the United States for damages in an amount to be

determined at trial, but not less than $1,434,798.45 in single damages, trebled, as well

as a minimum civil penalty of $11,665 to a maximum penalty of $23,331 for each claim

submitted to the Medicare Program.



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                                     Count III
                                (Payment by Mistake)

   60.       The United States incorporates by reference Paragraphs 1 through 48

above as if fully set forth in this Paragraph.

   61.       The United States paid Defendants, either directly or indirectly, for claims

submitted by Defendant Heller Family Medicine for services that were (i) not medically

necessary; and/or (ii) did not otherwise satisfy the requirements of the Medicare

Program, without knowledge of material facts, and under the mistaken belief that

Defendants were entitled to receive payment for such claims.

   62.       The mistaken belief of the United States was material to their decision to

pay Defendants for such claims.

   63.       The United States reasonably relied on Defendants’ submission of claims

that they believed were accurate, complete, and truthful, in accordance with the express

requirements of the Medicare Program.

   64.       The United States has been damaged as a result of this mistaken payment,

and the Defendants are thus liable to account and pay to the United States such

amounts, which are to be determined at trial.

                                      Count IV
                                 (Unjust Enrichment)

   65.       The United States incorporates by reference Paragraphs 1 through 48

above as if fully set forth in this Paragraph.

   66.       By retaining monies and profits received from services that were not

reimbursable, Defendants retained money that was the property of the Medicare

Program, to which they are not entitled.

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   67.         The United States seek the recovery of all funds paid by the Medicare

Program by which Defendants have been unjustly enriched, including profits unlawfully

earned for acupuncture that were medically unnecessary and not accurately identified.

   68.         As a consequence of the acts set forth above, Defendants were unjustly

enriched at the expense of the United States in an amount to be determined and which,

under the circumstances, in equity and good conscience, should be returned to the

United States.

                                 PRAYER FOR RELIEF

               WHEREFORE, the United States demands and prays that judgment be

entered in its favor against Defendants, jointly and severally, as follows:

   I.       On the First and Second Counts under the FCA for the amount of the United

            States’ damages, trebled as required by law, and such civil penalties as are

            permitted by law, together with all such relief as may be just and proper.

   II.      On the Third Count for payment by mistake, for the amounts the United

            States paid by mistake, plus interest, costs, and expenses, and for all such

            further relief as may be just and proper.

   III.     On the Fourth Count for unjust enrichment, for the amounts by which

            Defendants were unjustly enriched, plus interest, costs, and expenses, and

            for all such further relief as may be just and proper.

                               DEMAND FOR A JURY TRIAL

               The United States demands a jury trial.




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This 7th day of August, 2020.
                                 Respectfully submitted,

                                 BOBBY L. CHRISTINE
                                 UNITED STATES ATTORNEY

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